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Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 13 of 50 PageID #:681
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Firefox                                                        https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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                                                                                                   APPEAL,GILBERT

                                           United States District Court
                         Northern District of Illinois - CM/ECF LIVE, Ver 6.3.3 (Chicago)
                                 CIVIL DOCKET FOR CASE #: 1:21-cv-05600
                                                  Internal Use Only


          Troogstad et al v. City of Chicago et al                     Date Filed: 10/21/2021
          Assigned to: Honorable John Z. Lee                           Jury Demand: None
          Cause: 42:1983 Civil Rights Act                              Nature of Suit: 440 Civil Rights: Other
                                                                       Jurisdiction: Federal Question
          Plaintiff
          Scott Troogstad                                represented by Jonathan D. Lubin
                                                                        Attorney at Law
                                                                        8800 Bronx Ave
                                                                        Suite 100H
                                                                        Skokie, IL 60077
                                                                        773 945-2608
                                                                        Email: jonathan@lubinlegal.com
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Marcus Harris                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Gary Duszak                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Timothy Serbin                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Raul De Leon                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          John Cunningham                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff



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                      Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 27 of 50 PageID #:695

          Kenneth Brezina                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Marzena Semrau                                 represented by Jonathan D. Lubin
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                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michele Graber                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          John Knight                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michael Zach                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Elvis Perez                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Nicholas Fortuna                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Meghan Michaelsen                              represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          James Walsh                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Jeffrey Sutter                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED




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          Plaintiff
          Jennifer Karaboyas                             represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          James Duignan                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Nick Pantaleo                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Stephen Hodo                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          David Martin                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Daniel Rieger                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Kelly Joiner                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Julio Sanchez, Jr.                             represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Angela Bandstra                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Philip Marx                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED


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          Plaintiff
          Joseph Forchione                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Mark Abratanski                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Rich Clemens                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Robert Tebbens                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Krystal Kranz                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Grant Vosburgh                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Irene Res                                      represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Matt Paller                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Brian Brantley                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Daniel Kairis                                  represented by Jonathan D. Lubin
                                                                        (See above for address)



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Firefox                                                        https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Anthony Zumaras                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Richard Louzon                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Felix Serrano                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Luis Quinones                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Robert Skalski                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Ryan Kelly                                     represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Roberto Coronado                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Edward Santiago                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michelle Maxwell                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff




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Firefox                                                        https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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          Brendan Berry                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Paul O'Connor                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Wendy Luciano                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Julian Santos                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Steve Andolino                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Joseph Cudar                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michael Ouellette                              represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Robert Stopka                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Chris Grande                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Fletcher Prestidge                             represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED




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Firefox                                                        https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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          Plaintiff
          Collin Duszak                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Thomas Flavin                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Seth Martinez                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michele Martinez                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Daniel Baumgartner                             represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Scott Chibe                                    represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Emily Pecoraro                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Anthony Pecoraro                               represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Christopher Estherhammer-Fic                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Sandra Chlebowicz                              represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED


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Firefox                                                         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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          Plaintiff
          Chris King                                     represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          John Dardanes                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Dawn Hedlund                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          David Leon                                     represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Victor Martin                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Frank Phee                                     represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Robert Morris                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Nicolas Minghettino                            represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michael Cannon                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Nicholas Smith                                 represented by Jonathan D. Lubin
                                                                        (See above for address)



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                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Robert Thompson                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          William Hurley                                 represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Ryan Franzen                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Daniel Kranz                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          James Spalla                                   represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Steven Dorich                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Roy Anderson, Jr.                              represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          David Mueller                                  represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff
          Michael Richied                                represented by Jonathan D. Lubin
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

          Plaintiff




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Firefox                                                         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                       Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 35 of 50 PageID #:703

           Wesley Sienkiewicz                             represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Clint Rivera                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Kevin Ferguson                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Jeffrey King                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Arlett Payne                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Kellee Simz                                    represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Scott Rooney                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Heather Scherr                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Bernard Considine                              represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Leah Lafemina Escalante                        represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED




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Firefox                                                         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                       Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 36 of 50 PageID #:704

           Plaintiff
           Stephen Coyne                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Rebia Bradley                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Trang Nguyen                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Gary Horkavy                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Jaime Quezada                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Thomas Serbin                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Raul Mosqueda                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Raymond Wilke                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Michael Malloy                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Steven Paluck                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED


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Firefox                                                          https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                       Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 37 of 50 PageID #:705

           Plaintiff
           Bret Landis                                    represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           John Herzog                                    represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           John Borner                                    represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Michael Dahl                                   represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Pablo Delgado                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Shelton Davis                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Daniel Koenig                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Janet Contursi                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Matt Wieclawek                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Anthony Baggett                                represented by Jonathan D. Lubin
                                                                         (See above for address)



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                       Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 38 of 50 PageID #:706

                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Michael Criel                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Matthew Joseph Pusateri                        represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Jose A. Perez                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Thomas T. Morris                               represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Daniel McDermott                               represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Mitchell Figueroa                              represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Adam Sawyer                                    represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Joann Imparato                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           John Mullaney                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff




13 of 25                                                                                                       12/23/2021, 5:47 PM
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           Michael Repel                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           James Rappold                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Mono Kachatorian                               represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Matthew A. Balandes                            represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Saar Bruce Shaar                               represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Duhamel Renfort                                represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Anthony Martin Maggio                          represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Christopher J. Kahr                            represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Erik Goff                                      represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Timothy Maloy                                  represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED




14 of 25                                                                                                       12/23/2021, 5:47 PM
Firefox                                                         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                       Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 40 of 50 PageID #:708

           Plaintiff
           William Parker                                 represented by Jonathan D. Lubin
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Plaintiff
           Philip Mockler                                 represented by Jonathan D. Lubin
           individually and on behalf of similarly                       (See above for address)
           situated employees of City of Chicago                         ATTORNEY TO BE NOTICED


           V.
           Defendant
           City of Chicago                                represented by Michael A. Warner , Jr.
                                                                         Franczek Radelet PC
                                                                         300 South Wacker Drive
                                                                         Suite 3400
                                                                         Chicago, IL 60606
                                                                         (312) 786-6118
                                                                         Email: maw@franczek.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         William R Pokorny
                                                                         Franczek Radelet PC
                                                                         300 South Wacker Drive
                                                                         Suite 3400
                                                                         Chicago, IL 60606
                                                                         (312) 786-6141
                                                                         Email: wrp@franczek.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Celia Meza
                                                                         City of Chicago Law Department
                                                                         City Hall
                                                                         121 N. LaSalle Street, Suite 600
                                                                         Chicago, IL 60602
                                                                         312-744-0220
                                                                         Email: celia.meza@cityofchicago.org
                                                                         ATTORNEY TO BE NOTICED

                                                                         Erin Kathryn Walsh
                                                                         Franczek P.C.
                                                                         300 South Wacker Drive
                                                                         Suite 3400
                                                                         Chicago, IL 60606
                                                                         312 786-6530
                                                                         Email: ekw@franczek.com



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                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 41 of 50 PageID #:709

                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Richard Jason Patterson
                                                                                  Franczek P.c.
                                                                                  300 S. Wacker Dr., Suite 3400
                                                                                  Chicago, IL 60606
                                                                                  (312) 786-6102
                                                                                  Email: rjp@franczek.com
                                                                                  ATTORNEY TO BE NOTICED

           Defendant
           Jay Robert Pritzker                                    represented by Hal Dworkin
           Governor                                                              Office Of Illinois Attorney General
                                                                                 100 W. Randolph
                                                                                 13th Fl.
                                                                                 Chicago, IL 60613
                                                                                 (312) 814-5159
                                                                                 Email: hal.dworkin@ilag.gov
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                  Mary Alice Johnston
                                                                                  Illinois Attorney General
                                                                                  100 West Randolph Street
                                                                                  13th Floor
                                                                                  Chicago, IL 60601
                                                                                  (312)814-4417
                                                                                  Email: mary.johnston@ilag.gov
                                                                                  ATTORNEY TO BE NOTICED


                                     Select
           Date Filed       #        all / clear
                                                   Docket Text

           10/21/2021            1                 COMPLAINT filed by Grant Vosburgh, Kellee Simz, Raymond Wilke,
                                       1.02MB      James Rappold, Jeffrey Sutter, Edward Santiago, Michael Richied,
                                                   Michael Zach, James Walsh, Clint Rivera, Robert Thompson, Duhamel
                                                   Renfort, Julian Santos, Julio Sanchez Jr., Michael Repel, Adam Sawyer,
                                                   Bradley Rebia, Marzena Semrau, Anthony Zumaras, Irene Res, James
                                                   Spalla, Jaime Quezada, Heather Scherr, Matt Wieclawek, Scott Rooney,
                                                   Felix Serrano, Robert Skalski, Scott Troogstad, Matthew Pusateri, Robert
                                                   Tebbens, Thomas Serbin, Saar Shaar, Nicholas Smith, Luis Quinones,
                                                   Robert Stopka, Daniel Rieger, Wesley Sienkiewicz, Timothy Serbin;
                                                   Filing fee $ 402, receipt number 0752-18792181. (Attachments: # 1
                                                   Exhibit Exhibit A)(Lubin, Jonathan) (Entered: 10/21/2021)
           10/21/2021            2                 ATTORNEY Appearance for Plaintiffs Mark Abratanski, Roy Anderson
                                      60.47KB      Jr., Steve Andolino, Anthony Baggett, Matthew Balandes, Angela
                                                   Bandstra, Daniel Baumgartner, Brendan Berry, John Borner, Brian
                                                   Brantley, Kenneth Brezina, Michael Cannon, Scott Chibe, Sandra
                                                   Chlebowicz, Rich Clemens, Bernard Considine, Janet Contursi, Roberto
                                                   Coronado, Stephen Coyne, Michael Criel, Joseph Cudar, John


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Firefox                                                           https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 42 of 50 PageID #:710

                                            Cunningham, Michael Dahl, John Dardanes, Shelton Davis, Raul De
                                            Leon, Pablo Delgado, Steven Dorich, James Duignan, Collin Duszak,
                                            Gary Duszak, Leah Escalante, Christopher Estherhammer-Fic, Kevin
                                            Ferguson, Mitchell Figueroa, Thomas Flavin, Joseph Forchione, Nicholas
                                            Fortuna, Ryan Franzen, Erik Goff, Michele Graber, Chris Grande, Marcus
                                            Harris, Dawn Hedlund, John Herzog, Stephen Hodo, Gary Horkavy,
                                            William Hurley, Joann Imparato, Kelly Joiner, Mono Kachatorian,
                                            Christopher Kahr, Daniel Kairis, Jennifer Karaboyas, Ryan Kelly, Chris
                                            King, Jeffrey King, John Knight, Daniel Koenig, Daniel Kranz, Krystal
                                            Kranz, Bret Landis, David Leon, Richard Louzon, Wendy Luciano,
                                            Anthony Maggio, Michael Malloy, Timothy Maloy, David Martin, Victor
                                            Martin, Michelle Martinez, Seth Martinez, Philip Marx, Michelle
                                            Maxwell, Daniel McDermott, Meghan Michelsen, Nicholas Minghettino,
                                            Robert Morris, Thomas Morris, Raul Mosquedo, David Mueller, John
                                            Mullaney, Trang Nguyen, Paul O'Connor, Michael Oullette, Matt Paller,
                                            Steven Paluck, Nick Pantaleo, William Parker, Arlett Payne, Anthony
                                            Pecoraro, Emily Pecoraro, Elvis Perez, Jose Perez, Frank Phee, Fletcher
                                            Prestidge, Matthew Pusateri, Jaime Quezada, Luis Quinones, James
                                            Rappold, Bradley Rebia, Duhamel Renfort, Michael Repel, Irene Res,
                                            Michael Richied, Daniel Rieger, Clint Rivera, Scott Rooney, Julio
                                            Sanchez Jr., Edward Santiago, Julian Santos, Adam Sawyer, Heather
                                            Scherr, Marzena Semrau, Thomas Serbin, Timothy Serbin, Felix Serrano,
                                            Saar Shaar, Wesley Sienkiewicz, Kellee Simz, Robert Skalski, Nicholas
                                            Smith, James Spalla, Robert Stopka, Jeffrey Sutter, Robert Tebbens,
                                            Robert Thompson, Scott Troogstad, Grant Vosburgh, James Walsh, Matt
                                            Wieclawek, Raymond Wilke, Michael Zach, Anthony Zumaras by
                                            Jonathan D. Lubin (Lubin, Jonathan) (Entered: 10/21/2021)
           10/21/2021        3              CIVIL Cover Sheet (Lubin, Jonathan) (Entered: 10/21/2021)
                                 267.00KB

           10/21/2021                       CASE ASSIGNED to the Honorable John Z. Lee. Designated as
                                            Magistrate Judge the Honorable Jeffrey T. Gilbert. Case assignment:
                                            Random assignment. (sxh, ) (Entered: 10/21/2021)
           10/21/2021        4              MOTION by Plaintiffs Mark Abratanski, Roy Anderson Jr., Steve
                                 12.48MB    Andolino, Anthony Baggett, Matthew Balandes, Angela Bandstra, Daniel
                                            Baumgartner, Brendan Berry, John Borner, Brian Brantley, Kenneth
                                            Brezina, Michael Cannon, Scott Chibe, Sandra Chlebowicz, Rich
                                            Clemens, Bernard Considine, Janet Contursi, Roberto Coronado, Stephen
                                            Coyne, Michael Criel, Joseph Cudar, John Cunningham, Michael Dahl,
                                            John Dardanes, Shelton Davis, Raul De Leon, Pablo Delgado, Steven
                                            Dorich, James Duignan, Collin Duszak, Gary Duszak, Leah Escalante,
                                            Christopher Estherhammer-Fic, Kevin Ferguson, Mitchell Figueroa,
                                            Thomas Flavin, Joseph Forchione, Nicholas Fortuna, Ryan Franzen, Erik
                                            Goff, Michele Graber, Chris Grande, Marcus Harris, Dawn Hedlund, John
                                            Herzog, Stephen Hodo, Gary Horkavy, William Hurley, Joann Imparato,
                                            Kelly Joiner, Mono Kachatorian, Christopher Kahr, Daniel Kairis,
                                            Jennifer Karaboyas, Ryan Kelly, Chris King, Jeffrey King, John Knight,
                                            Daniel Koenig, Daniel Kranz, Krystal Kranz, Bret Landis, David Leon,
                                            Richard Louzon, Wendy Luciano, Anthony Maggio, Michael Malloy,
                                            Timothy Maloy, David Martin, Victor Martin, Michelle Martinez, Seth
                                            Martinez, Philip Marx, Michelle Maxwell, Daniel McDermott, Meghan


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Firefox                                                         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 43 of 50 PageID #:711

                                        Michelsen, Nicholas Minghettino, Robert Morris, Thomas Morris, Raul
                                        Mosquedo, David Mueller, John Mullaney, Trang Nguyen, Paul
                                        O'Connor, Michael Oullette, Matt Paller, Steven Paluck, Nick Pantaleo,
                                        William Parker, Arlett Payne, Anthony Pecoraro, Emily Pecoraro, Elvis
                                        Perez, Jose Perez, Frank Phee, Fletcher Prestidge, Matthew Pusateri,
                                        Jaime Quezada, Luis Quinones, James Rappold, Bradley Rebia, Duhamel
                                        Renfort, Michael Repel, Irene Res, Michael Richied, Daniel Rieger, Clint
                                        Rivera, Scott Rooney, Julio Sanchez Jr., Edward Santiago, Julian Santos,
                                        Adam Sawyer, Heather Scherr, Marzena Semrau, Thomas Serbin,
                                        Timothy Serbin, Felix Serrano, Saar Shaar, Wesley Sienkiewicz, Kellee
                                        Simz, Robert Skalski, Nicholas Smith, James Spalla, Robert Stopka,
                                        Jeffrey Sutter, Robert Tebbens, Robert Thompson, Scott Troogstad, Grant
                                        Vosburgh, James Walsh, Matt Wieclawek, Raymond Wilke, Michael
                                        Zach, Anthony Zumaras for temporary restraining order Emergency,
                                        MOTION by Plaintiffs Mark Abratanski, Roy Anderson Jr., Steve
                                        Andolino, Anthony Baggett, Matthew Balandes, Angela Bandstra, Daniel
                                        Baumgartner, Brendan Berry, John Borner, Brian Brantley, Kenneth
                                        Brezina, Michael Cannon, Scott Chibe, Sandra Chlebowicz, Rich
                                        Clemens, Bernard Considine, Janet Contursi, Roberto Coronado, Stephen
                                        Coyne, Michael Criel, Joseph Cudar, John Cunningham, Michael Dahl,
                                        John Dardanes, Shelton Davis, Raul De Leon, Pablo Delgado, Steven
                                        Dorich, James Duignan, Collin Duszak, Gary Duszak, Leah Escalante,
                                        Christopher Estherhammer-Fic, Kevin Ferguson, Mitchell Figueroa,
                                        Thomas Flavin, Joseph Forchione, Nicholas Fortuna, Ryan Franzen, Erik
                                        Goff, Michele Graber, Chris Grande, Marcus Harris, Dawn Hedlund, John
                                        Herzog, Stephen Hodo, Gary Horkavy, William Hurley, Joann Imparato,
                                        Kelly Joiner, Mono Kachatorian, Christopher Kahr, Daniel Kairis,
                                        Jennifer Karaboyas, Ryan Kelly, Chris King, Jeffrey King, John Knight,
                                        Daniel Koenig, Daniel Kranz, Krystal Kranz, Bret Landis, David Leon,
                                        Richard Louzon, Wendy Luciano, Anthony Maggio, Michael Malloy,
                                        Timothy Maloy, David Martin, Victor Martin, Michelle Martinez, Seth
                                        Martinez, Philip Marx, Michelle Maxwell, Daniel McDermott, Meghan
                                        Michelsen, Nicholas Minghettino, Robert Morris, Thomas Morris, Raul
                                        Mosquedo, David Mueller, John Mullaney, Trang Nguyen, Paul
                                        O'Connor, Michael Oullette, Matt Paller, Steven Paluck, Nick Pantaleo,
                                        William Parker, Arlett Payne, Anthony Pecoraro, Emily Pecoraro, Elvis
                                        Perez, Jose Perez, Frank Phee, Fletcher Prestidge, Matthew Pusateri,
                                        Jaime Quezada, Luis Quinones, James Rappold, Bradley Rebia, Duhamel
                                        Renfort, Michael Repel, Irene Res, Michael Richied, Daniel Rieger, Clint
                                        Rivera, Scott Rooney, Julio Sanchez Jr., Edward Santiago, Julian Santos,
                                        Adam Sawyer, Heather Scherr, Marzena Semrau, Thomas Serbin,
                                        Timothy Serbin, Felix Serrano, Saar Shaar, Wesley Sienkiewicz, Kellee
                                        Simz, Robert Skalski, Nicholas Smith, James Spalla, Robert Stopka,
                                        Jeffrey Sutter, Robert Tebbens, Robert Thompson, Scott Troogstad, Grant
                                        Vosburgh, James Walsh, Matt Wieclawek, Raymond Wilke, Michael
                                        Zach, Anthony Zumaras for preliminary injunction (Lubin, Jonathan)
                                        (Entered: 10/21/2021)
           10/22/2021        5          MINUTE entry before the Honorable John Z. Lee: Rule 16 initial status
                                        hearing is set for 12/14/21 at 9:15 a.m. The parties are directed to file a
                                        joint initial status report by 12/7/21. The report should comply with the



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Firefox                                                            https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 44 of 50 PageID #:712

                                           requirements for initial joint status reports set forth in the Initial Status
                                           Conference standing order, which can be found on the Court's website. In
                                           light of the COVID-19 pandemic and the related General Orders, the
                                           Court finds that it is necessary to conduct the status hearing via telephone
                                           conference. The call-in number is 888-273-3658 and the access code is
                                           1637578. Counsel of record will receive a separate email at least 12 hours
                                           prior to the start of the telephonic hearing with instructions on how to join
                                           the call. All persons granted remote access to proceedings are reminded of
                                           the general prohibition against photographing, recording, and
                                           rebroadcasting of court proceedings. Violation of these prohibitions may
                                           result in court-imposed sanctions, including removal of court issued
                                           media credentials, restricted entry to future hearings, denial of entry to
                                           future hearings, or any other sanctions deemed necessary by the Court.
                                           All participants should review the Court's standing order regarding
                                           telephone conferences that is on Judge Lee's website, which can be found
                                           at: https://www.ilnd.uscourts.gov/judge-
                                           info.aspx?4Qf5zc8loCI5U7rfMP9DHw==(ca, ) Modified on 10/22/2021
                                           (ca, ). (Entered: 10/22/2021)
           10/22/2021        6             MINUTE entry before the Honorable John Z. Lee: Rule 16 initial status
                                 4.89KB    hearing is set for 12/14/21 at 9:15 a.m. The parties are directed to file a
                                           joint initial status report by 12/7/21. The report should comply with the
                                           requirements for initial joint status reports set forth in the Initial Status
                                           Conference standing order, which can be found on the Court's website. In
                                           light of the COVID-19 pandemic and the related General Orders, the
                                           Court finds that it is necessary to conduct the status hearing via telephone
                                           conference. The call-in number is 888-273-3658 and the access code is
                                           1637578. Counsel of record will receive a separate email at least 12 hours
                                           prior to the start of the telephonic hearing with instructions on how to join
                                           the call. All persons granted remote access to proceedings are reminded
                                           of the general prohibition against photographing, recording, and
                                           rebroadcasting of court proceedings. Violation of these prohibitions may
                                           result in court-imposed sanctions, including removal of court issued
                                           media credentials, restricted entry to future hearings, denial of entry to
                                           future hearings, or any other sanctions deemed necessary by the Court.
                                           All participants should review the Court's standing order regarding
                                           telephone conferences that is on Judge Lee's website, which can be found
                                           at: https://www.ilnd.uscourts.gov/judge-
                                           info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. (ca, ) (Entered: 10/22/2021)
           10/22/2021        7             ATTORNEY Appearance for Defendant City of Chicago by Michael A.
                                 49.67KB   Warner, Jr (Warner, Michael) (Entered: 10/22/2021)
           10/22/2021        8             ATTORNEY Appearance for Defendant City of Chicago by William R
                                 49.69KB   Pokorny (Pokorny, William) (Entered: 10/22/2021)
           10/22/2021        9             MINUTE entry before the Honorable John Z. Lee:The Court will hold a
                                 4.81KB    hearing on Plaintiffs' motion for temporary restraining order on Tuesday,
                                           October 26, 2021 at 4:00 PM. If Defendants wish to file a written
                                           response to the motion, it must be filed no later than 3:00 PM on Monday,
                                           October 25, 2021. The call-in number is 888-273-3658 and the access
                                           code is 1637578. Counsel of record will receive a separate email at least
                                           12 hours prior to the start of the telephonic hearing with instructions on


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Firefox                                                            https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 45 of 50 PageID #:713

                                            how to join the call. All persons granted remote access to proceedings are
                                            reminded of the general prohibition against photographing, recording, and
                                            rebroadcasting of court proceedings. Violation of these prohibitions may
                                            result in court-imposed sanctions, including removal of court issued
                                            media credentials, restricted entry to future hearings, denial of entry to
                                            future hearings, or any other sanctions deemed necessary by the Court.
                                            All participants should review the Court's standing order regarding
                                            telephone conferences that is on Judge Lee's website, which can be found
                                            at: https://www.ilnd.uscourts.gov/judge-
                                            info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. (ca, ) (Entered: 10/22/2021)
           10/22/2021       10              MINUTE entry before the Honorable John Z. Lee: Minute order 9 is
                                 4.29KB     corrected: The Court will hold a hearing on Plaintiffs' motion for
                                            temporary restraining order on Tuesday, October 26, 2021 at 4:00 p.m. in
                                            person. (ca, ) (Entered: 10/22/2021)
           10/25/2021       11              ATTORNEY Appearance for Defendant City of Chicago by Erin Kathryn
                                 49.68KB    Walsh (Walsh, Erin) (Entered: 10/25/2021)
           10/25/2021       12              ATTORNEY Appearance for Defendant City of Chicago by Richard
                                 49.69KB    Jason Patterson (Patterson, Richard) (Entered: 10/25/2021)
           10/25/2021       13              ATTORNEY Appearance for Defendant Jay Robert Pritzker by Hal
                                 60.13KB    Dworkin (Dworkin, Hal) (Entered: 10/25/2021)
           10/25/2021       14              RESPONSE by Jay Robert Pritzkerin Opposition to MOTION by
                                 5.08MB     Plaintiffs Mark Abratanski, Roy Anderson Jr., Steve Andolino, Anthony
                                            Baggett, Matthew Balandes, Angela Bandstra, Daniel Baumgartner,
                                            Brendan Berry, John Borner, Brian Brantley, Kenneth Brezina, Michael
                                            Cannon, Scott Chibe, Sandra Chlebowicz, 4 (Attachments: # 1 Exhibit A
                                            - Declaration of Dr. Bleasdale, # 2 Exhibit B - Declaration of Dr. Barnes)
                                            (Dworkin, Hal) (Entered: 10/25/2021)
           10/25/2021       15              MOTION by Defendant Jay Robert Pritzker for leave to file excess pages
                                 199.07KB   Unopposed (Dworkin, Hal) (Entered: 10/25/2021)
           10/25/2021       16              NOTICE of Motion by Hal Dworkin for presentment of (Dworkin, Hal)
                                 96.06KB    (Entered: 10/25/2021)
           10/25/2021       17              MINUTE entry before the Honorable John Z. Lee: At Plaintiffs' counsel's
                                 4.85KB     request, the hearing on Plaintiffs' motion for temporary restraining order,
                                            which previously was scheduled to take place in person, will now take
                                            place via video conference using Cisco WebEx. The date and time of the
                                            hearing remains unchanged: Tuesday, October 26, 2021, at 4:00 p.m.
                                            Counsel of record will receive an email with instructions on how to log
                                            into the video conference. The public may view and listen to the hearing
                                            using the following link: https://us-courts.webex.com/us-courts
                                            /j.php?MTID=m8f801f4522eb63916e43314dedfa8083; Event number:
                                            2318 411 1461; Event password: ilnd215600 (45632156 from phones). To
                                            listen to the hearing by telephone: 1-855-244-8681 Call-in toll-free
                                            number (US/Canada); Access code: 231 841 11461. Furthermore, all
                                            persons granted remote access to proceedings are reminded of the general
                                            prohibition against photographing, recording, and rebroadcasting of court
                                            proceedings. Violation of these prohibitions may result in court-imposed



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Firefox                                                             https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
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                                            sanctions, including removal of court issued media credentials, restricted
                                            entry to future hearings, denial of entry to future hearings, or any other
                                            sanctions deemed necessary by the Court. (ca, ) (Entered: 10/25/2021)
           10/25/2021       18              RESPONSE by City of Chicagoin Opposition to MOTION by Plaintiffs
                                 8.53MB     Mark Abratanski, Roy Anderson Jr., Steve Andolino, Anthony Baggett,
                                            Matthew Balandes, Angela Bandstra, Daniel Baumgartner, Brendan
                                            Berry, John Borner, Brian Brantley, Kenneth Brezina, Michael Cannon,
                                            Scott Chibe, Sandra Chlebowicz, 4 (Attachments: # 1 Exhibit
                                            A-D)(Warner, Michael) (Entered: 10/25/2021)
           10/25/2021       19              MOTION by Defendant City of Chicago for leave to file excess pages
                                 82.54KB    (Warner, Michael) (Entered: 10/25/2021)
           10/25/2021       20              EXHIBIT by Defendant City of Chicago regarding MOTION by
                                 8.72MB     Defendant City of Chicago for leave to file excess pages 19 (Warner,
                                            Michael) (Entered: 10/25/2021)
           10/25/2021       21              MINUTE entry before the Honorable John Z. Lee:Motions for leave to
                                 4.24KB     file excess pages 15 19 are granted. (ca, ) (Entered: 10/25/2021)
           10/27/2021       22              MINUTE entry before the Honorable John Z. Lee:Motion hearing held on
                                 4.40KB     10/26/21. Plaintiff's reply brief is due by 5:00 p.m. on 10/28/21. Plaintiff's
                                            motion for a temporary restraining order 4 is entered and continued for
                                            10/29/21 at 4:00 p.m. Counsel of record will receive an email with
                                            instructions on how to log into the video conference. The public will be
                                            provided a link to view and listen to the hearing. (ca, ) (Entered:
                                            10/27/2021)
           10/27/2021       23              MINUTE entry before the Honorable John Z. Lee:The public may view
                                 4.67KB     and listen to the hearing on 10/29/21 at 4:00 p.m. using the following
                                            link: https://us-courts.webex.com/us-courts
                                            /j.php?MTID=mefcf81fe5ceef52e66fd8a2cd8e6a2c5. Event number:
                                            2313 740 4146. Event passcode: ilnd215600. (45632156 from phones).
                                            To listen to the hearing by telephone: 1-855-244-8681 Call-in toll-free
                                            number (US/Canada); Access code: 231 374 04146. Furthermore, all
                                            persons granted remote access to proceedings are reminded of the general
                                            prohibition against photographing, recording, and rebroadcasting of court
                                            proceedings. Violation of these prohibitions may result in court-imposed
                                            sanctions, including removal of court issued media credentials, restricted
                                            entry to future hearings, denial of entry to future hearings, or any other
                                            sanctions deemed necessary by the Court. (ca, ) (Entered: 10/27/2021)
           10/27/2021       24              ATTORNEY Appearance for Defendant City of Chicago by Celia Meza
                                 16.49KB    (Meza, Celia) (Entered: 10/27/2021)
           10/28/2021       25              REPLY by Plaintiffs Mark Abratanski, Roy Anderson, Jr, Steve
                                 311.59KB   Andolino, Anthony Baggett, Matthew A. Balandes, Angela Bandstra,
                                            Daniel Baumgartner, Brendan Berry, John Borner, Rebia Bradley, Brian
                                            Brantley, Kenneth Brezina, Michael Cannon, Scott Chibe, Sandra
                                            Chlebowicz, Rich Clemens, Bernard Considine, Janet Contursi, Roberto
                                            Coronado, Stephen Coyne, Michael Criel, Joseph Cudar, John
                                            Cunningham, Michael Dahl, John Dardanes, Shelton Davis, Raul De
                                            Leon, Pablo Delgado, Steven Dorich, James Duignan, Collin Duszak,



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Firefox                                                             https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 47 of 50 PageID #:715

                                            Gary Duszak, Leah Lafemina Escalante, Christopher Estherhammer-Fic,
                                            Kevin Ferguson, Mitchell Figueroa, Thomas Flavin, Joseph Forchione,
                                            Nicholas Fortuna, Ryan Franzen, Erik Goff, Michele Graber, Chris
                                            Grande, Marcus Harris, Dawn Hedlund, John Herzog, Stephen Hodo,
                                            Gary Horkavy, William Hurley, Joann Imparato, Kelly Joiner, Mono
                                            Kachatorian, Christopher J. Kahr, Daniel Kairis, Jennifer Karaboyas,
                                            Ryan Kelly, Chris King, Jeffrey King, John Knight, Daniel Koenig,
                                            Daniel Kranz, Krystal Kranz, Bret Landis, David Leon, Richard Louzon,
                                            Wendy Luciano, Anthony Martin Maggio, Michael Malloy, Timothy
                                            Maloy, David Martin, Victor Martin, Michele Martinez, Seth Martinez,
                                            Philip Marx, Michelle Maxwell, Daniel McDermott, Meghan Michaelsen,
                                            Nicolas Minghettino, Philip Mockler, Robert Morris, Thomas T. Morris,
                                            Raul Mosqueda, David Mueller, John Mullaney, Trang Nguyen, Paul
                                            O'Connor, Michael Ouellette, Matt Paller, Steven Paluck, Nick Pantaleo,
                                            William Parker, Arlett Payne, Anthony Pecoraro, Emily Pecoraro, Elvis
                                            Perez, Jose A. Perez, Frank Phee, Fletcher Prestidge, Matthew Joseph
                                            Pusateri, Jaime Quezada, Luis Quinones, James Rappold, Duhamel
                                            Renfort, Michael Repel, Irene Res, Michael Richied, Daniel Rieger, Clint
                                            Rivera, Scott Rooney, Julio Sanchez, Jr, Edward Santiago, Julian Santos,
                                            Adam Sawyer, Heather Scherr, Marzena Semrau, Thomas Serbin,
                                            Timothy Serbin, Felix Serrano, Saar Bruce Shaar, Wesley Sienkiewicz,
                                            Kellee Simz, Robert Skalski, Nicholas Smith, James Spalla, Robert
                                            Stopka, Jeffrey Sutter, Robert Tebbens, Robert Thompson, Scott
                                            Troogstad, Grant Vosburgh, James Walsh, Matt Wieclawek, Raymond
                                            Wilke, Michael Zach, Anthony Zumaras (Lubin, Jonathan) (Entered:
                                            10/28/2021)
           10/29/2021       26              MINUTE entry before the Honorable John Z. Lee: For the reasons stated
                                 4.35KB     on the record, Plaintiff's motion for temporary restraining order is denied.
                                            The parties shall submit a joint status report indicating a proposed
                                            discovery schedule as to the motion for preliminary injunction on or
                                            before Friday, November 5, 2021. Mailed notice (vcf, ) (Entered:
                                            10/29/2021)
           11/05/2021       27              ATTORNEY Appearance for Defendant Jay Robert Pritzker by Mary
                                 229.71KB   Alice Johnston (Johnston, Mary) (Entered: 11/05/2021)
           11/05/2021       28              STATUS Report Joint by Jay Robert Pritzker (Dworkin, Hal) (Entered:
                                 118.50KB   11/05/2021)
           11/08/2021       29              MINUTE entry before the Honorable John Z. Lee: The Court has
                                 4.85KB     reviewed the status report. The Court orders the parties to file a joint
                                            written status report by 11/12/21 indicating whether Plaintiffs will
                                            disclose an expert and, if so, submitting a proposed expert discovery
                                            schedule. The report, which shall be as concise as possible, shall set forth:
                                            (1) the current deadlines imposed by the Court and whether the matter has
                                            been referred to the Magistrate Judge in any fashion (e.g., for discovery
                                            supervision; for resolution of a motion; for settlement; etc.); (2) the
                                            progress of discovery, if discovery is ongoing; (3) the status of briefing on
                                            unresolved motions, if any; (4) whether the parties have engaged or are
                                            engaging in settlement discussions and the status of those discussions; (5)
                                            for cases without any future court dates, an agreed proposed schedule; (6)
                                            for cases that have future court dates and if the parties believe there is


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Firefox                                                            https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 48 of 50 PageID #:716

                                            good cause to extend the current deadlines, a proposed amended schedule
                                            and the basis for the request; (7) a request for any agreed action that the
                                            Court can take without a hearing; (8) and whether the parties believe a
                                            telephonic hearing or in-person hearing is necessary within the next 60
                                            days, and, if so, the issue(s) that warrants discussion and the parties'
                                            respective positions. Mailed notice. (ym, ) (Entered: 11/08/2021)
           11/12/2021       30              STATUS Report Joint by Jay Robert Pritzker (Dworkin, Hal) (Entered:
                                 120.03KB   11/12/2021)
           11/18/2021       31              TRANSCRIPT OF PROCEEDINGS held on 10/29/21 before the
                                 277.75KB   Honorable John Z. Lee. Order Number: 41951. Court Reporter Contact
                                            Information: Joseph Rickhoff, 312-435-5562,
                                            joseph_rickhoff@ilnd.uscourts.gov. <P>IMPORTANT: The transcript
                                            may be viewed at the court's public terminal or purchased through the
                                            Court Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through the Court
                                            Reporter/Transcriber or PACER. For further information on the redaction
                                            process, see the Court's web site at www.ilnd.uscourts.gov under Quick
                                            Links select Policy Regarding the Availability of Transcripts of Court
                                            Proceedings.</P> Redaction Request due 12/9/2021. Redacted Transcript
                                            Deadline set for 12/20/2021. Release of Transcript Restriction set for
                                            2/16/2022. (Rickhoff, Joseph) (Entered: 11/18/2021)
           11/19/2021       32              SUR-REPLY by Plaintiffs Mark Abratanski, Roy Anderson, Jr, Steve
                                 7.67MB     Andolino, Anthony Baggett, Matthew A. Balandes, Angela Bandstra,
                                            Daniel Baumgartner, Brendan Berry, John Borner, Rebia Bradley, Brian
                                            Brantley, Kenneth Brezina, Michael Cannon, Scott Chibe, Sandra
                                            Chlebowicz, Rich Clemens, Bernard Considine, Janet Contursi, Roberto
                                            Coronado, Stephen Coyne, Michael Criel, Joseph Cudar, John
                                            Cunningham, Michael Dahl, John Dardanes, Shelton Davis, Raul De
                                            Leon, Pablo Delgado, Steven Dorich, James Duignan, Collin Duszak,
                                            Gary Duszak, Leah Lafemina Escalante, Christopher Estherhammer-Fic,
                                            Kevin Ferguson, Mitchell Figueroa, Thomas Flavin, Joseph Forchione,
                                            Nicholas Fortuna, Ryan Franzen, Erik Goff, Michele Graber, Chris
                                            Grande, Marcus Harris, Dawn Hedlund, John Herzog, Stephen Hodo,
                                            Gary Horkavy, William Hurley, Joann Imparato, Kelly Joiner, Mono
                                            Kachatorian, Christopher J. Kahr, Daniel Kairis, Jennifer Karaboyas,
                                            Ryan Kelly, Chris King, Jeffrey King, John Knight, Daniel Koenig,
                                            Daniel Kranz, Krystal Kranz, Bret Landis, David Leon, Richard Louzon,
                                            Wendy Luciano, Anthony Martin Maggio, Michael Malloy, Timothy
                                            Maloy, David Martin, Victor Martin, Michele Martinez, Seth Martinez,
                                            Philip Marx, Michelle Maxwell, Daniel McDermott, Meghan Michaelsen,
                                            Nicolas Minghettino, Philip Mockler, Robert Morris, Thomas T. Morris,
                                            Raul Mosqueda, David Mueller, John Mullaney, Trang Nguyen, Paul
                                            O'Connor, Michael Ouellette, Matt Paller, Steven Paluck, Nick Pantaleo,
                                            William Parker, Arlett Payne, Anthony Pecoraro, Emily Pecoraro, Elvis
                                            Perez, Jose A. Perez, Frank Phee, Fletcher Prestidge, Matthew Joseph
                                            Pusateri, Jaime Quezada, Luis Quinones, James Rappold, Duhamel
                                            Renfort, Michael Repel, Irene Res, Michael Richied, Daniel Rieger, Clint
                                            Rivera, Scott Rooney, Julio Sanchez, Jr, Edward Santiago, Julian Santos,
                                            Adam Sawyer, Heather Scherr, Marzena Semrau, Thomas Serbin,


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Firefox                                                                https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                   Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 49 of 50 PageID #:717

                                            Timothy Serbin, Felix Serrano, Saar Bruce Shaar, Wesley Sienkiewicz,
                                            Kellee Simz, Robert Skalski, Nicholas Smith, James Spalla, Robert
                                            Stopka, Jeffrey Sutter, Robert Tebbens, Robert Thompson, Scott
                                            Troogstad, Grant Vosburgh, James Walsh, Matt Wieclawek, Raymond
                                            Wilke, Michael Zach, Anthony Zumaras to motion for temporary
                                            restraining order,,,,,,,,,,,,,,,,,, motion for preliminary injunction,,,,,,,,,,,,,,,,,
                                            4 Supplemental Brief In Support of a Petition for Preliminary Injunction
                                            (Attachments: # 1 Exhibit Exhibits)(Lubin, Jonathan) (Entered:
                                            11/19/2021)
           11/19/2021       33              MINUTE entry before the Honorable John Z. Lee:The Court has
                                 4.26KB     reviewed the status report. Status hearing set for 12/7/21 at 10:00 a.m. by
                                            video. (ca, ) (Entered: 11/19/2021)
           11/24/2021       34              MINUTE entry before the Honorable John Z. Lee: For the reasons stated
                                 4.27KB     in the memorandum opinion and order, Plaintiffs' motion for a temporary
                                            restraining order 4 is denied. (ca, ) (Entered: 11/24/2021)
           11/24/2021       35              MEMORANDUM Opinion and Order Signed by the Honorable John Z.
                                 270.18KB   Lee on 11/24/21.(ca, ) (Entered: 11/24/2021)
           12/03/2021       36              MEMORANDUM by Jay Robert Pritzker Response In Opposition To
                                 0.61MB     Plaintiffs' Supplemental Brief In Support Of Their Motion For
                                            Preliminary Injunction (Dworkin, Hal) (Entered: 12/03/2021)
           12/03/2021       37              RESPONSE by Defendant City of Chicago DEFENDANT CITY OF
                                 152.49KB   CHICAGO'S RESPONSE TO PLAINTIFFS' SUPPLEMENTAL BRIEF IN
                                            SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION
                                            (Warner, Michael) (Entered: 12/03/2021)
           12/07/2021       38              MINUTE entry before the Honorable John Z. Lee: Status hearing held on
                                 4.26KB     12/7/21. Plaintiff's motion for preliminary injunction 4 is taken under
                                            advisement. (ca, ) (Entered: 12/07/2021)
           12/13/2021       39              MINUTE entry before the Honorable John Z. Lee:The status hearing set
                                 4.27KB     for 12/14/21 is stricken. The Court will set another status after the ruling
                                            on the Preliminary Injunction. (ca, ) (Entered: 12/13/2021)
           12/21/2021       40              MINUTE entry before the Honorable John Z. Lee:Because Plaintiffs have
                                 4.31KB     not satisfied any of the elements necessary to obtain preliminary
                                            injunctive relief, their motion for a preliminary injunction is denied. [For
                                            further details see memorandum opinion and order]. (ca, ) (Entered:
                                            12/21/2021)
           12/21/2021       41              MEMORANDUM Opinion and Order Signed by the Honorable John Z.
                                 183.51KB   Lee on 12/21/21.(ca, ) (Entered: 12/21/2021)
           12/22/2021       42              NOTICE of appeal by Mark Abratanski, Roy Anderson, Jr, Steve
                                 89.36KB    Andolino, Anthony Baggett, Matthew A. Balandes, Angela Bandstra,
                                            Daniel Baumgartner, Brendan Berry, John Borner, Rebia Bradley, Brian
                                            Brantley, Kenneth Brezina, Michael Cannon, Scott Chibe, Sandra
                                            Chlebowicz, Rich Clemens, Bernard Considine, Janet Contursi, Roberto
                                            Coronado, Stephen Coyne, Michael Criel, Joseph Cudar, John
                                            Cunningham, Michael Dahl, John Dardanes, Shelton Davis, Raul De
                                            Leon, Pablo Delgado, Steven Dorich, James Duignan, Collin Duszak,


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Firefox                                                              https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?180863251014851-L_1_0-1
                    Case: 1:21-cv-05600 Document #: 45 Filed: 12/23/21 Page 50 of 50 PageID #:718

                                               Gary Duszak, Leah Lafemina Escalante, Christopher Estherhammer-Fic,
                                               Kevin Ferguson, Mitchell Figueroa, Thomas Flavin, Joseph Forchione,
                                               Nicholas Fortuna, Ryan Franzen, Erik Goff, Michele Graber, Chris
                                               Grande, Marcus Harris, Dawn Hedlund, John Herzog, Stephen Hodo,
                                               Gary Horkavy, William Hurley, Joann Imparato, Kelly Joiner, Mono
                                               Kachatorian, Christopher J. Kahr, Daniel Kairis, Jennifer Karaboyas,
                                               Ryan Kelly, Chris King, Jeffrey King, John Knight, Daniel Koenig,
                                               Daniel Kranz, Krystal Kranz, Bret Landis, David Leon, Richard Louzon,
                                               Wendy Luciano, Anthony Martin Maggio, Michael Malloy, Timothy
                                               Maloy, David Martin, Victor Martin, Michele Martinez, Seth Martinez,
                                               Philip Marx, Michelle Maxwell, Daniel McDermott, Meghan Michaelsen,
                                               Nicolas Minghettino, Philip Mockler, Robert Morris, Thomas T. Morris,
                                               Raul Mosqueda, David Mueller, John Mullaney, Trang Nguyen, Paul
                                               O'Connor, Michael Ouellette, Matt Paller, Steven Paluck, Nick Pantaleo,
                                               William Parker, Arlett Payne, Anthony Pecoraro, Emily Pecoraro, Elvis
                                               Perez, Jose A. Perez, Frank Phee, Fletcher Prestidge, Matthew Joseph
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                                               Adam Sawyer, Heather Scherr, Marzena Semrau, Thomas Serbin,
                                               Timothy Serbin, Felix Serrano, Saar Bruce Shaar, Wesley Sienkiewicz,
                                               Kellee Simz, Robert Skalski, Nicholas Smith, James Spalla, Robert
                                               Stopka, Jeffrey Sutter, Robert Tebbens, Robert Thompson, Scott
                                               Troogstad, Grant Vosburgh, James Walsh, Matt Wieclawek, Raymond
                                               Wilke, Michael Zach, Anthony Zumaras regarding orders 41 , 40 Filing
                                               fee $ 505, receipt number 0752-18995163. Receipt number: n (Lubin,
                                               Jonathan) (Entered: 12/22/2021)
           12/23/2021          43              REQUEST for Clerk of Court to refund filing fee in the amount of 505,
                                     94.36KB   receipt no. 0752-18995163, (Lubin, Jonathan) (Entered: 12/23/2021)
           12/23/2021          44              NOTICE of Appeal Due letter sent to counsel of record regarding notice
                                     0.54MB    of appeal 42 . (aee, ) (Entered: 12/23/2021)

                Total filesize of selected documents (MB):
           or   Maximum filesize allowed (MB): 30




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